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CLERK, U.S. DISTRICT COURT

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT
>

23-CV-2476
Judge Rowland a
CaseNo.: \agistrate Judge Harjant

ANDRE NESBIT

Petitioner, PETITION FOR Writ oF MANDAMUS
VS.

Nya Prupe, DIANA RosARIO

Respondents,

‘Petition for Writ Of Mandamus

Now Comes the petitioner, Andre Nesbit, and petition this Court
for an Order against the defendants, Nya Prude, Diana Rosario, and Cook
County Circuit Court directing Honorable Judge Diana Roasario and the
Circuit Court of Cook County to reaffirm the judgment passed on
6/3/2016 and to dissolve the plenary order of protection passed on

— 9/26/2026; and directing the defendant, Nya prude, to follow the judgment
passed on 6/3/2016.

General Allegations

This action seeks an order compelling the Honorable Judge Diana Rosarion and
the Circuit Court of Cook County to reaffirm and enforce the judgment passed on
6/3/2016. The respondent, Nya Prude, and her attorney falsely state to the court
that the defendant is abusing her and harassing and that the petitioner took their
child out of state in violation of a restraining order. However, this court, also,
issued an order for the petitioner to not call the police or DCFS on the defendant
for bruises on the child and suspected and witnessed abuse and intimidation of a
minor. The Courts, Honorable Judge Rosario, is refusing to grant the petitioner
any relief based on the fathers race and gender only. Addition to this, the

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Honorable Judge Rosario will not grant any relief to a pro se petitioner. This a
conspiracy to violate the petitioners civil rights and relief granted by the court.
The defendant, Nya Prude, has stated to the court that dropping off the child and
being in the peititoners presence is harassing and the court granted the respondent
a two year plenary order of protection that prohibits the petitioner from
contacting the respondent, Nya Prude, and their child, Nadia Nesbit.

Statement of the Case
Jurisdiction

1. Jurisdiction is conferred on this Court with respect to a Writ of Mandamus by 28
U.S.C. § 1361, which provides for mandamus actions to compel officers and
employees of the United States to perform a duty owed to the Petitioner.

2. The Agency Procedures Act (hereinafter “APA”) provides that a person
“adversely affected or aggrieved by agency actions [or failure to act, see 5 U.S.C.
§§707(b)(2), 551(13]. . . is entitled to judicial review thereof.” 5 U.S. C.§702.

Venue

1. Pursuant to U.S.C.§1391(e), venue lies in the Northern District of Illinois
because this were all defendants resides, operates, and or lives, and this is where
all of the events took place.

Parties

1. Nya prude is the respondent in the state case, 2014d69286, for parentage
against the petitioner. The respondent misrepresented facts to the court in
order to interfere with the petitioners visitation with his child, Nadia
Nesbit.

2. Honorable Judge Diana Rosario is the hearing officer presiding over the
case between the petitioner, Andre Nesbit, and the Respondent, Nya
Prude, in their, now, pending state action.

Count I: Failure of the Honorable Judge, Diana Rosario, to Discharge Duties of

j a proper! ed dgement in a Mann hat would Ensu

Petitioners rights and benefits could be potentially conferred

1. Mandamus actions can be used to compel action by an agency, so long.as the action is not
discretionary. An agencyS decision not to act due to a policy position that effectively
precludes a timely decision from being made is properly subject to an action in
Mandamus. See Ganem v. Heckler, 746 F.2d 844 (D.C. Cir. 1984). This action is
grounded in that the Honorable Judge Diana Rosarios neglected in enforcing the
judgment passed on 6/3/206, and refused to grant the petitioner any relief based solely on
his race and gender. The petitioner asks that this court (i) Order Honorable Judge Rosario
Reaffirm and Enforce the Judgement passed on 6/3/2016. (ii) to dissolve the two year
plenary order of protection entered on 9/26/2023.

2. The Agency Procedures Act (hereinafter “APA”) provides that a person “adversely
affected or aggrieved by agency actions [or failure to act, see 5 U.S.C. §§707(b)(2),
551(13]. . . is entitled to judicial review thereof.” 5 U.S. C.§702.

3. The petitioner has not served any Emergency Petitions for an order of protection or any
information pertaining to hearings. The petitioner has not harassed or abused the

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respondent, Nya Prude, and is simply attempting to see his child and follow the judgment
passed on 6/3/2016.

WHEREFORE, Petitioner, Andre Nesbit, respectfully prays this Honorable Court to
Enter an Order Directing the Honorable Judge Rosario to (i) Order Honorable Judge

Rosario Reaffirm and Enforce the Judgement passed on 6/3/2016. (ii) to Order Honorable
Judge Rosario to dissolve the two year plenary order of protection entered on 9/26/2023.

Dated: April 8, 2023 Respectfully Submitted

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Attorney Name

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CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT CIVIL CODE § 1189

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document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

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me(s) of Signer

who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
_his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s),
or the entity upon behalf of which the person(s) acted, executed the instrument.

| certify under PENALTY OF PERJURY under the laws
of the State of California that the foregoing paragraph
is true and correct.

SCOPp SONIA TRINIDAD WITNESS my hand and Cor
oN Notary Public - California _

| Los Angeles County a

$ Commission # 2342351 ==

staee>” My Comm. Expires Jan 19, 2025 Signature of

Place Notary Seal Above

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(1) Partner — ~]Limited (J General O Partner — (] Limited [1] General

CJ Individual (] Attorney in Fact (_] Individual |_| Attorney in Fact

CJ Trustee |_| Guardian or Conservator (_] Trustee (_| Guardian or Conservator
(J Other: C] Other:

Signer Is Representing: Signer Is Representing:

